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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION


SONOS, INC.,

               Plaintiff,
                                         Case No. 6:20-cv-00881-ADA
      vs.

GOOGLE LLC,

               Defendant.




               DECLARATION OF JAMES JUDAH IN SUPPORT OF
            GOOGLE LLC’S RULE 12(B)(3) MOTION TO STAY OR DISMISS
                   PURSUANT TO THE FIRST-TO-FILE RULE
        Case 6:20-cv-00881-ADA Document 22-2 Filed 11/19/20 Page 2 of 2




       I, James Judah, declare and state as follows:

       1.      I am a partner at Quinn Emanuel Urquhart & Sullivan, LLP representing Google

LLC (“Google”) in this matter. If called as a witness, I could and would testify competently to

the information contained herein.

       2.      I am representing Google in Certain Audio Players and Controllers, Components

Thereof and Products Containing Same, Inv. No. 337-TA-1191, an investigation pending before

the International Trade Commission involving Google and Sonos (“Sonos I”). The parties took

33 fact depositions in Sonos I, which included 17 depositions of Google employees, nine

depositions of Sonos employees, and seven depositions of third parties. None of the individuals

who were deposed in Sonos I were based in Texas.

       3.      Fifteen of the 17 Google employees who were deposed in Sonos I are based in the

San Francisco Bay Area, including

                                    . The two Google employees not based in the San Francisco

Bay Area are based in Kitchener, Canada, and Chicago, Illinois.

       4.      Five of the nine Sonos witnesses who were deposed in Sonos I are based in

California. The Sonos witnesses not based in California are based in Illinois and Massachusetts.



       I declare under penalty of perjury that to the best of my knowledge the foregoing is true

and correct. Executed on November 18, 2020, in Hillsborough, California.


DATED: November 18, 2020

                                             By: /s James Judah
                                                 James Judah




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